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            EXHIBIT E
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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


 STATE OF NEW JERSEY, et al.,

                                 Plaintiffs,

     v.                                                            No. 1:25-cv-10139

 DONALD J. TRUMP, et al.,

                                 Defendants.


                           DECLARATION OF SHARON C. BOYLE

          I, Sharon C. Boyle, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

I.        Background

          1.     I am the General Counsel of the Massachusetts Executive Office of Health and

Human Services (EOHHS), a position I have held since 2016. EOHHS is a cabinet-level secretariat

in Massachusetts that directly manages the MassHealth program and oversees eleven state

agencies charged with promoting the health, resilience, and independence of the Commonwealth’s

residents. EOHHS’s public-health programs serve nearly one in three Massachusetts residents,

touching every city and town in the Commonwealth.

          2.     Between 2003 and 2016, before assuming my current role, I held several titles

within the EOHHS general counsel’s unit, including First Deputy General Counsel and Chief

MassHealth Counsel. From 1995 to 2003, I worked as an assistant general counsel in the Division

of Medical Assistance.

          3.     As EOHHS General Counsel, I have personal knowledge of the rules, regulations,

and processes governing EOHHS and its agencies. I have personal knowledge, or knowledge based
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on review in my capacity as General Counsel of information and records gathered by EOHHS and

agency staff, of the matters set forth below.

II.    MassHealth Programs

       A.      Overview, Eligibility, and Funding
       4.      EOHHS administers several publicly funded programs that enable qualifying

Massachusetts residents to access free or low-cost healthcare coverage. These programs include

the Medicaid plan, Children’s Health Insurance Program (CHIP), and the 1115 Demonstration

Project—collectively known in Massachusetts as “MassHealth.” Jointly funded by state and

federal dollars, MassHealth provides coverage for a wide range of health services to children, the

elderly, families, and individuals with disabilities. MassHealth benefits may vary depending on,

among other things, a person’s citizenship and immigration status and household income.

       5.      Depending on household income, children who are U.S. Citizens or who have

qualifying immigration status are eligible for MassHealth’s more comprehensive health benefits.

For example, children whose household income is no more than 200% of the federal poverty level

(for children under 1) or 150% of the federal poverty level (for children 1 through 18) are eligible

for MassHealth Standard benefits. These MassHealth plans, which are funded in part by federal

dollars, cover comprehensive medical and behavioral health care, primary and specialty physician

services, inpatient and outpatient hospital services, long-term services and supports,

comprehensive dental and vision care, lab tests, and pharmacy services.

       6.      Under federal law, children who are undocumented or who lack a qualifying

immigration status are not eligible for the comprehensive plans discussed in the preceding

paragraph. Instead, the only Medicaid coverage available for children who are undocumented or

who lack qualifying immigration status is emergency services—known in Massachusetts as

“MassHealth Limited.” The household income thresholds for MassHealth Limited are 200% of the

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federal poverty level for children under 1 and 150% of the federal poverty level for children aged

1 through 18.

       7.       To provide more comprehensive coverage for children who are ineligible for the

comprehensive MassHealth plans discussed in paragraph 5, Massachusetts allows individuals

under age 19 to enroll in the state’s Children’s Medical Security Plan (CMSP). A child whose

household income is at or below 200% of the federal poverty level does not pay for CMSP

coverage. CMSP is funded primarily by the Commonwealth of Massachusetts; the federal

government does not provide matching funds for CMSP as it does for the comprehensive

MassHealth programs. 1 Stated otherwise, Massachusetts children under age 19 who meet the

income eligibility requirements for federally funded comprehensive Medicaid or CHIP programs,

but who are not eligible for those programs because they are not U.S. citizens or qualified

immigrants, are eligible for more comprehensive health coverage through CMSP at the state’s

expense.

       8.       For most MassHealth programs, the “Federal Medical Assistance Percentage”—

i.e., the amount that the federal government reimburses the Commonwealth for its spending—is

50%. For spending on children in CHIP, the Federal Medical Assistance Percentage is 65%. By

contrast, and as just discussed, CMSP coverage for undocumented children, who are not eligible

for federal-state Medicaid or CHIP, is primarily funded by the Commonwealth.

       B.       Fiscal Impact from Elimination of Birthright Citizenship




1
  The federal government provides limited funding for CMSP through the “Health Services
Initiative,” but that funding is subject to an annual cap which the program regularly exceeds,
meaning that the state will shoulder the cost of any increased enrollment in the CMSP.

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       9.      Today, any child born in Massachusetts is automatically deemed a U.S. citizen.

Thus, any child born in Massachusetts to Massachusetts residents who meets income-eligibility

criteria is eligible, as a citizen, for comprehensive federally funded MassHealth programs.

       10.     Massachusetts currently spends an average of approximately $4,800 per year per

child enrolled in a comprehensive federally funded MassHealth program. As noted above, the

federal government currently reimburses at least 50–65% of those costs.

       11.     On January 20, 2025, the President issued an Executive Order entitled “Protecting

the Meaning and Value of American Citizenship,” which purports to revoke birthright citizenship

for certain children born in the United States after February 19, 2025. If the Executive Order is

given effect, children covered by the Executive Order would not be eligible for any federally

funded MassHealth program beyond MassHealth Limited. Instead, those children, if they meet

income and other eligibility criteria, would receive CMSP from birth. Accordingly, other than

emergency services, Massachusetts would cover the increased cost of health coverage for those

children without federal reimbursement. This will be a significant number of children. MassHealth

covers approximately 40% of the births in Massachusetts. Babies whose mothers are on

MassHealth are deemed eligible for MassHealth for their first year.

       C.      Administrative Burdens from Elimination of Birthright Citizenship
       12.     Today, MassHealth’s process for determining a newborn’s eligibility for health

care coverage operates on the premise that birth in a Massachusetts healthcare facility is, without

more, proof that the newborn is a citizen.

       13.     If the Executive Order goes into effect, MassHealth would have to develop new

eligibility processes because EOHHS could no longer rely on the fact that a child was born in the

United States to confirm citizenship status.



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       14.     EOHHS would incur significant costs to train eligibility staff and customer service

workers on the new procedures and to revise existing guidance documents and manuals regarding

eligibility rules and procedures.

III.   Enumeration at Birth Program

       15.     Massachusetts is a participant in the Social Security Administration’s

“Enumeration at Birth” (EAB) program. EAB allows new parents to request a Social Security

Number (SSN) during the birth registration process, eliminating the need for them to gather

documents and submit a separate application to the Social Security Administration.

       16.     EAB involves collaboration between the federal government and state agencies.

When a state participates in the program, the state’s vital-statistics agency—in Massachusetts, the

Registry of Vital Records and Statistics (RVRS) in the Department of Health (DPH)—

electronically sends birth registration information to the Social Security Administration. The

Administration then assigns an SSN, issues a card, and automatically updates its records with proof

of birth. The federal government provides funding to the state for each SSN assigned this way.

       17.     According to the Social Security Administration, approximately 99% of SSNs for

infants are assigned through this program. Parents born outside the United States can apply for and

receive an SSN for their child without including their own SSNs on the application. Currently,

because children born in the United States are U.S. citizens, they are eligible for SSNs regardless

of their parents’ immigration status.

       18.     Massachusetts receives federal funding from the federal government in connection

with the EAB program on a quarterly basis. The funding rate for the June 2024–June 2025 time

period is $4.82 per SSN issued through Massachusetts’s EAB participation. Massachusetts’s

current contract with the Social Security Administrations provides for up to 87,860 SSNs to be



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issued through the program in Massachusetts in that time—resulting in up to $423,485.20 in

federal payments to the Commonwealth.

       19.    If birthright citizenship were revoked pursuant to the Executive Order, children

covered by the order would no longer be citizens and would therefore be ineligible for an SSN,

and Massachusetts would lose the federal funding associated with issuance of those SSNs.




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       I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge.



Executed this 21st day of January, 2025.




                                                     _____________________________

                                                     Sharon C. Boyle
                                                     General Counsel, Massachusetts Executive
                                                     Office of Health and Human Services




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